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 1                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
 2

 3     ___________________________

 4     UNITED STATES OF AMERICA,

 5                            Plaintiff,           Criminal Action
                                                   No. 99-10371-DJC
 6     V.
                                                   November 13, 2013
 7     JAMES J. BULGER,                            10:00 a.m.

 8                         Defendant.
       ___________________________
 9

10

11                        TRANSCRIPT OF SENTENCING DAY 1

12                    BEFORE THE HONORABLE DENISE J. CASPER

13                          UNITED STATES DISTRICT COURT

14                        JOHN J. MOAKLEY U.S. COURTHOUSE

15                                 1 COURTHOUSE WAY

16                                BOSTON, MA    02210

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                              DEBRA M. JOYCE, RMR, CRR
21                             Official Court Reporter
                          John J. Moakley U.S. Courthouse
22                          1 Courthouse Way, Room 5204
                                  Boston, MA 02210
23                              joycedebra@gmail.com

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 1     APPEARANCES:

 2     FOR THE GOVERNMENT:

 3     BRIAN T. KELLY, ESQ.
       FRED M. WYSHAK, JR., ESQ.
 4     ZACHARY R. HAFER, ESQ.
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       FOR THE DEFENDANT:
 9
       J.W. CARNEY, JR., ESQ.
10     HENRY B. BRENNAN, ESQ.
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         1                             P R O C E E D I N G S

         2                     (The following proceedings were held in open

         3     court before the Honorable Denise J. Casper, United States

         4     District Judge, United States District Court, District of

         5     Massachusetts, at the John J. Moakley United States Courthouse,

         6     1 Courthouse Way, Boston, Massachusetts, on November 13, 2013.)

         7               THE CLERK:    Criminal action 99-10371, United States v.

         8     James Bulger.

         9               Counsel please state your name for the record.

10:01   10               MR. KELLY:    Good morning.     Brian Kelly, Fred Wyshak,

        11     Zach Hafer, and Mary Murrane for the United States.

        12               THE COURT:    Good morning, counsel.

        13               MR. CARNEY:    Good morning, your Honor.       J.W. Carney,

        14     Jr. and Henry Brennan representing the defendant.

        15               THE COURT:    Good morning, counsel.

        16               Good morning, Mr. Bulger.

        17               THE DEFENDANT:     Good morning.

        18               THE COURT:    Counsel, Mr. Bulger, as I said at the

        19     status conference in September, I'm going to conduct this

10:01   20     hearing over the course of the next day and a half.

        21               Today I'm going to address some preliminary matters

        22     first, then I'll hear from counsel in regards to the PSR and

        23     any recommendations for sentence and all of its components.

        24               I'll then hear statements from the people whom the

        25     government has indicated wish to be heard, and I'll return to
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         1     that issue in a moment.

         2               And then, Mr. Bulger, if you want to be heard by this

         3     Court during the course of this sentencing, I'll hear from you

         4     today, as well.

         5               Tomorrow I'll announce my reasons for the sentence,

         6     and I'll formally impose sentence.

         7               Counsel, I do want address two preliminary matters

         8     first before we turn to the PSR.

         9               First, I want to address the government's motions for

10:02   10     forfeiture in the form of a money judgment and for specific

        11     assets.   These are Docket Numbers 1323 and 1324.

        12               As I will make clear in an ECF order I'll enter later

        13     today, I've received a number of filings on behalf of

        14     representatives of victims' families in opposition to the

        15     government's motions.     These various motions and petitions seek

        16     to have the Court deny the motions for forfeiture and instead

        17     order restitution under Title 18, United States Code, 3663(a),

        18     and order other related relief.

        19               I note that a number of these oppositions and

10:03   20     petitions have been withdrawn over the last week and a half or

        21     so, but I believe that a few remain.

        22               For a number of reasons, I will allow the government's

        23     motions for forfeiture, and I'll enter those orders in

        24     connection with the entry of criminal judgment that I'll make

        25     in this case.    I'll deny the representatives' motions to the
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         1     extent that they seek other relief.

         2                I do this, counsel, for a number reasons.        First, the

         3     imposition of forfeiture is mandatory in a RICO case under

         4     Title 18, United States Code, 1963(a).

         5                Second, as I suggested when we were waiting for the

         6     verdict in August, the movants' attempted intervention at this

         7     juncture is at best premature.       The only mechanism for

         8     non-party petitioners to intervene regarding forfeiture would

         9     be in any ancillary matters under Rule 32.2.         And even then

10:04   10     those ancillary matters would only address specific assets and

        11     not the money judgement that the government also seeks here.

        12                Third, the entry of the preliminary orders of

        13     forfeiture will not bar any participation in any ancillary

        14     proceeding about forfeiture, provided any of the movants have

        15     standing to assert an interest in the property to be forfeited.

        16                And finally, there's nothing about allowing these

        17     forfeiture motions that negates my authority to enter an order

        18     of restitution under Title 18, United States Code, 3663(a) to

        19     address the harm to those who are considered victims under that

10:04   20     statute.

        21                For all of those reasons, I will allow the

        22     government's motions for forfeiture, and I'll do so in

        23     connection with the criminal judgment.

        24                Counsel, the second matter that I want to address in

        25     regards to today's proceeding is who gets to address the Court
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         1     today.

         2               I know that the government has proposed to have 11

         3     family members of victims speak today, that's Docket 1362,

         4     which was a filing by the government that I will unseal today.

         5               I understand, Mr. Kelly, that that number has risen to

         6     12, adding a family member of Mr. Halloran's, if I recall

         7     correctly.

         8               MR. KELLY:    Yes, your Honor.     Yesterday the wife of

         9     Brian Halloran indicated the desire to speak.         And this morning

10:05   10     I was advised that Marie Mahoney, daughter of William O'Brien,

        11     also wishes to speak.     So, if she is granted permission to

        12     speak, she'd be the third speaker.

        13               THE COURT:    Okay.

        14               Thank you, Mr. Kelly.

        15               As the government suggested at the September status

        16     conference and is reflected in the docket entry, this group

        17     includes a few people whose family members were victims of

        18     predicates which were found by the jury not to have been proven

        19     beyond a reasonable doubt.

10:06   20               I solicited the defense's view on this matter, and,

        21     Mr. Carney, I appreciate your filing on this matter.             I

        22     understand that Mr. Bulger objects to the statement of this

        23     subset of proposed speakers, essentially on the ground that

        24     they have no right to make a statement pursuant to Title 18,

        25     United States Code, 3771, the Crime Victims' Rights Act, given
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         1     the jury's verdict.     I certainly understand that position, but,

         2     Mr. Carney, for reasons I'll more fully explain in an ECF order

         3     I'll enter later today, I'm going to allow all of the proposed

         4     speakers to speak today.

         5               The CVRA is not the only provision of law that gives

         6     rise to information that a sentencing judge may in her broad

         7     discretion consider at sentencing.        I'm guided in this decision

         8     by the broad mandate and scope under Title 18, United States

         9     Code, 3661 of the information I can consider, which was

10:07   10     recently recognized by the 1st Circuit in the Greig case.

        11               There is nothing about the broad scope of information

        12     that a sentencing judge can consider in any and every criminal

        13     case and its application here of this principle that either

        14     undermines or questions the jury's verdict in this case, one

        15     that was reached after very careful deliberation; that is,

        16     whether the families of victims of the predicates not proven at

        17     trial have any right to speak under the CVRA, the Court may

        18     still hear such statements otherwise under section 3661, and

        19     that's what I will do here.

10:07   20               It will then be for me to determine in the final

        21     analysis whether it bears upon the defendant's background,

        22     character, and conduct, and then decide what weight, if any, I

        23     will give it in my sentencing decision.

        24               For all of these reasons and the reasons I'll more

        25     fully explain in the ECF order, I'll allow the individuals
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         1     identified in Docket 1362 to speak, with the two additions,

         2     Mr. Kelly, that you mentioned this morning.

         3               Counsel, just before turning to the presentence

         4     report, I just want to make sure that I've received all of the

         5     written materials that you wanted me to consider today.

         6               I have received and reviewed the presentence report as

         7     it was revised November 6, 2013; I've received the government's

         8     sentencing memo filed November 7th; I've received various

         9     letters on behalf of victims' families, both as a matter of

10:08   10     victim impact statements and also concerning restitution; and

        11     I've also received the government's filing regarding

        12     restitution, Docket 1366.

        13               From the government's perspective, were there any

        14     other written materials that you wanted me to consider?

        15               MR. KELLY:    No, your Honor.

        16               THE COURT:    Mr. Carney, same question?

        17               MR. CARNEY:    The only document we filed was our

        18     objection to the certain witnesses testifying.          That's all we

        19     submitted, your Honor.

10:09   20               Thank you.

        21               THE COURT:    Thank you, Mr. Carney.

        22               And I note that Ms. Roffo from Probation is here and

        23     present, thank you.

        24               Do I understand that no information was withheld from

        25     the PSR under Rule 32(d)(3)?
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         1               PROBATION OFFICER:     That's correct, your Honor.

         2               THE COURT:    Thank you.

         3               Mr. Carney, have you had the opportunity to review the

         4     presentence report?

         5               MR. CARNEY:    May Attorney Brennan address your Honor?

         6               THE COURT:    Sure.

         7               Mr. Brennan.

         8               MR. BRENNAN:    Good morning, your Honor.

         9               THE COURT:    Good morning.

10:09   10               MR. BRENNAN:    Your Honor, Attorney Carney and I have

        11     had a chance to review the presentence report.

        12               THE COURT:    Have you had a chance to review it with

        13     Mr. Bulger?

        14               MR. BRENNAN:    Attorney Carney and I have visited

        15     Mr. Bulger on a number of occasions.        We have provided him a

        16     copy of the pretrial sentence report.

        17               Mr. Bulger has made clear to us that his position is

        18     the same today as it was when he gave a colloquy to your Honor

        19     at the time of his trial, that he believes the trial was a

10:10   20     sham.   In consequence, he has directed us not to participate in

        21     that process.    Therefore, Attorney Carney and I take no

        22     position on the presentence report.

        23               Thank you.

        24               THE COURT:    Counsel, Mr. Bulger, I think that leaves

        25     me in the position of taking for the record that there are no
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         1     objections to the PSR, notwithstanding your statement to the

         2     Court, Mr. Brennan.

         3                MR. BRENNAN:    Your Honor, I refrain from saying there

         4     are no objections, in light of the fact that we have not had a

         5     conversation regarding the content of that package with our

         6     client.    Our client's direction has been very clear to us that

         7     we, at his behest, not participate in that process.           So we take

         8     no position as a result.

         9                THE COURT:    I understand your stated position,

10:11   10     counsel.

        11                MR. BRENNAN:    Thank you.

        12                THE COURT:    Okay.

        13                I'll hear from -- well, I'll hear from the

        14     government -- I'll note for the record a few things,

        15     notwithstanding Mr. Brennan's statement.         No objections were

        16     filed by either side in regards to the PSR, which largely,

        17     given Mr. Bulger's decision which he's free to make not to

        18     participate in the presentence interview process, largely was

        19     comprised of the base offense calculations, criminal history

10:11   20     calculations, and the statement of offense provided by the

        21     government.    It did not contain any personal information,

        22     except for identifying information as to Mr. Bulger.

        23                I'll turn to the government for the moment to make

        24     clear on the record that there were no objections to the PSR

        25     from the government.
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         1                MR. KELLY:    Yes, we have no objections.      We think the

         2     guidelines set forth in the presentence report were accurately

         3     calculated.    I note that the defendant is waiving his

         4     objections.    He had a copy, his lawyers have copies, so he

         5     can't just refuse to participate.        He had a chance to object,

         6     he didn't, and it's clear to us that the guidelines were

         7     properly calculated by the Probation Department, and we'd ask

         8     the Court to adopt them.

         9                THE COURT:    Okay.

10:12   10                And I'm assuming you have no objections either to the

        11     calculation of the base offense level or the criminal history

        12     calculation or the factual contents to the extent that there

        13     are any factual contents, counsel?

        14                MR. KELLY:    Yes, your Honor, that's correct.

        15                THE COURT:    Okay.

        16                Should I assume, Mr. Brennan, that you're representing

        17     Mr. Bulger at this sentencing, so should I direct my questions

        18     to you?

        19                MR. BRENNAN:    I think both Attorney Carney and I will

10:12   20     both play a role in it, your Honor.

        21                THE COURT:    And if I ask you the same questions, would

        22     you give me the same response, Mr. Brennan?

        23                MR. BRENNAN:    Respectfully, your Honor, yes, I would.

        24                THE COURT:    I think, obviously, Mr. Bulger had notice

        25     of the presentence report and an opportunity to review it, even
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         1     if he chose not to.      I do think that's a waiver of any

         2     objections.

         3                I do note that I've had a chance to review the

         4     calculations of the base offense level and the criminal history

         5     calculated by the Probation Department, which, based on the

         6     number of offenses and the nature of the offenses, required

         7     grouping by categories of offenses, and the combined offense

         8     level was 43, actually, maxed out at 43, which is the highest

         9     level under the base offense calculations.         With no reduction

10:13   10     for acceptance of responsibility, the total offense level is

        11     43.   In light of the bases for those calculations in the PSR,

        12     which I do adopt, I will find that base offense level 43

        13     applies here.

        14                In terms of the Criminal History Category, the total

        15     points calculated based on a scoring of Mr. Bulger's criminal

        16     history calculated to be eight points, putting Mr. Bulger in

        17     category IV for criminal history.

        18                Based on those calculations -- I should also say for

        19     the record, I think that was appropriately calculated, and I'll

10:14   20     adopt the criminal history calculation.

        21                Based on the total offense level and the criminal

        22     history calculated, the advisory guideline sentencing range is

        23     a term of life for all of the counts of conviction, except

        24     Counts 39 and 40; plus five years on and after for Count 39,

        25     which is the 924(c) count for possession of firearms in
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         1     furtherance of crimes of violence; plus life imprisonment on

         2     and after for Count 40, which is the 924(c) conviction for

         3     possession of machine guns in furtherance of crimes of

         4     violence.

         5                 In terms of any supervised release range, it's up to

         6     five years on Counts 1, 2, 39, and 40; up to three years on

         7     Counts 3, 5, 6 through 27, 42, 45, and 48.

         8                 The fine range is $25,000 to $11.5 million, but

         9     there's a maximum statutory cap for Counts 3, 39, 40, 42, 45,

10:15   10     and 48 of $250,000, and $500,000 on Counts 5 through 27.

        11                 Forfeiture I've also addressed in my preliminary

        12     remarks.

        13                 The special assessment, $100 per count for a total of

        14     $3,100.

        15                 And restitution under Section 3663(a) is mandatory for

        16     those persons who fall under the statutory definition of

        17     "victim."

        18                 Do either -- counsel, before I hear any

        19     recommendations on either side, does counsel on either side

10:16   20     want to be heard on what I've just stated as the advisory

        21     sentencing guideline range?

        22                 MR. BRENNAN:   No, thank you.

        23                 MR. KELLY:   Your Honor, we think that's accurate.

        24                 THE COURT:   Counsel, at this time I'll hear the

        25     parties' respective recommendations, if they choose to give
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         1     them, in regard to the sentence.

         2                I'll hear from the government first.

         3                MR. KELLY:    Yes, your Honor, thank you.

         4                It's, frankly, hard to know where to start in this

         5     case.   The defendant has committed one heinous crime after

         6     another.    He strangles people, he shoots people who are

         7     handcuffed, he moves bodies from one place to another, he makes

         8     up reasons to extort people for hundreds of thousands of

         9     dollars.

10:17   10                And throughout this trial the Court heard for itself

        11     from the victims in this case, the victims of James Bulger.

        12     And today some of those victims will describe for themselves in

        13     very personal terms the effects of his crimes, and that's

        14     appropriate here, because they are the ones who have had to

        15     live their lives without their fathers, their husbands, their

        16     brothers, and their sisters.       And it's all thanks to this

        17     defendant, James Bulger.

        18                And sadly, your Honor, the victims that the Court

        19     heard from during trial, and today, they aren't the only

10:18   20     victims of this defendant and his criminal enterprise.

        21                He helped flood his own neighborhood with drugs, his

        22     own neighborhood of South Boston, all so that he could make a

        23     buck.   And that's what it was all about with this defendant.

        24     As long as he prospered, no one else mattered.

        25                To him, human life meant nothing.
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         1                When he was done tormenting Arthur Barrett with his

         2     questions, then he made a little joke and shot him in the back

         3     of the head and laid down on a couch.

         4                When Deborah Hussey was viewed as a threat to his

         5     criminal organization, he strangled her with his bare hands.

         6                When he was unable to choke John McIntyre to death

         7     with a rope, he shot him in the head.

         8                When he thought Brian Halloran was going to be a

         9     witness against him, he shot him dead in broad daylight just

10:19   10     down the street from here.

        11                And when he saw that Brian Halloran was in the company

        12     of another man, his own friend, Michael Donahue, that didn't

        13     stop the defendant, he shot him dead, too.

        14                The carnage that he has caused is grotesque, and that

        15     doesn't even complete the disturbing picture of this defendant,

        16     who's really a little sociopath, whose twisted view of the

        17     world had him not dispute some of these murders but he wanted

        18     to dispute whether or not he was an informant or not.             He

        19     desperately wants the people to believe he wasn't an FBI

10:20   20     informant.    That's the sham in this case, not the trial.

        21                He chose for years to meet with various FBI agents and

        22     give them information, that makes him an informant, whether he

        23     likes it or not.

        24                Incredibly, he even had his own attorney stand up in

        25     opening statement and say because he was Irish, he couldn't be
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         1     an informant.     It's a ridiculous statement.       In fact, he's a

         2     disgrace to the Irish, murdering women, killing men who are

         3     handcuffed, flooding his own neighborhood with drugs.

         4                And it wasn't only his neighborhood of South Boston

         5     whom he victimized, he dragged his own family into this sordid

         6     saga.   Thanks to him, his brother Jackie went before a grand

         7     jury and lied, got prosecuted, and went to jail, lost his

         8     pension.    Thanks to this defendant.      His other brother, William

         9     Bulger, a prominent, successful politician, thanks to this

10:21   10     defendant, lost his job.      His girlfriend, Catherine Greig,

        11     thanks to him, now serving eight years in federal prison for

        12     harboring a fugitive, this defendant.

        13                And all of that doesn't even touch upon the corruption

        14     that Bulger helped spread.       He has tried to pretend that he

        15     wants to expose corruption.       It's a joke.    He was the source of

        16     the corruption.     Bulger hasn't exposed a thing.       Since the 1998

        17     hearings before Judge Wolf we've known about the corruption,

        18     we've prosecuted the corruption, and he hasn't done anything to

        19     help us.

10:21   20                And, your Honor, make no mistakes, the stupidity and

        21     dishonesty of FBI agents like John Connolly and John Morris,

        22     they don't excuse Bulger's savagery, they don't give him a

        23     basis for any leniency.      And undoubtedly, the public

        24     corruption, which was part of this investigation for 20 years,

        25     which was exposed years before he was caught, was disgusting,
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         1     but it should not obscure the fact that we're here today due to

         2     the hard work and efforts of many honest and hardworking

         3     members of law enforcement, some of whom persevered for over 20

         4     years to make this case and make this conviction a reality.

         5                The Court heard from some of them, honest and

         6     hardworking agents like DEA Agent Dan Doherty, State Police

         7     Lieutenant Steve Johnson, IRS Agent Sandy Lemanski, Inspector

         8     General Agent Jimmy Marra.       Because of them, this case, this

         9     prosecution, was successful.       And ultimately, let's not forget,

10:23   10     Bulger was arrested by an honest and hardworking member of the

        11     FBI, Special Agent Scott Garriola, who testified at this

        12     hearing.

        13                Furthermore, the case itself would never have been

        14     brought without the efforts of hardworking and honest

        15     individuals like Tom Foley of the State Police and my colleague

        16     Fred Wyshak.

        17                So I think your Honor has accurately summarized the

        18     sentencing guidelines in this case.        They are severe and

        19     appropriately so.

10:23   20                The defendant has been getting arrested since the time

        21     Harry Truman was president.       It's a ridiculous lengthy crime

        22     spree by this man who sits before you.

        23                And we think the guidelines actually do reflect his

        24     criminal behavior; they require a life sentence.          The federal

        25     death penalty wasn't in effect until the 1990s, so that,
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         1     obviously, does not apply.       So we would urge the Court to

         2     impose a sentence of life on all of the counts, except for the

         3     924(c) counts.     As the Court accurately pointed out, one of the

         4     924(c) counts carries a five-year minimum mandatory sentence,

         5     and the other one is a mandatory life sentence.

         6                As the Court pointed out, special assessments also

         7     have to be imposed.      Supervised release seems superfluous, but

         8     I think that has to be imposed as well, we defer to the Court

         9     on that, as well as the fine.       He refused to give any financial

10:24   10     information, so I think a modest fine at the low end would be

        11     preferable here, so that any assets that are recovered going

        12     forward, they can be split among the victims of his many

        13     crimes.

        14                And that's who the case ultimately should focus on,

        15     because, at the end of the day, the victims in this case will

        16     never be able to regain what he has taken from them, but,

        17     hopefully, they will find some solace in the fact that he is

        18     going to spend the rest of his miserable life in jail.

        19                So, for all of those reasons, your Honor, we would

10:25   20     urge the Court, when the time comes, to impose life on Counts

        21     1, 2, 3, 5 through 27, 42, 45, and 48; and we'd urge the Court

        22     to impose a mandatory consecutive sentence of five years on

        23     Count 39 and a mandatory consecutive sentence of life

        24     imprisonment on Count 40.

        25                Thank you.
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         1                THE COURT:    Thank you, counsel.

         2                Mr. Brennan, I'll still turn to you, or Mr. Carney, in

         3     the normal course, as I always do, to see if you have any

         4     recommendations.

         5                MR. CARNEY:    For the reasons advanced by Attorney

         6     Brennan, I do not, your Honor.       Thank you.

         7                THE COURT:    Counsel, as I do in all other sentencings,

         8     I will hear from the individuals that I addressed before that

         9     the government identified as wanting to speak today.

10:26   10                There is a podium that is right behind the

        11     government's counsel table for folks to come up to to speak,

        12     and I'll give each person a few minutes to address the Court.

        13                MR. KELLY:    Your Honor, the United States would call

        14     Sean McGonagle, son of Paul McGonagle.

        15                MR. McGONAGLE:    Good morning, your Honor.

        16                THE COURT:    Good morning, sir.

        17                MR. McGONAGLE:    Families, Court, Satan, on behalf of

        18     my mother Mary, my brother, Paul, my aunts, Cathy, Marie and

        19     Jan, my uncle "Bud," and myself, we extend our heartfelt thanks

10:27   20     to you, Judge Casper, your staff, and of course your court

        21     officers and marshals.

        22                We thank you for treating my family and all of the

        23     victims' families here today with gracious dignity during these

        24     very difficult proceedings.       We also want to thank U.S.

        25     Attorney Carmen Ortiz and her staff for their hard work and
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         1     diligence in bringing James Bulger to justice in this honorable

         2     court.

         3                I stand before you as a 49-year-old man and a father

         4     myself.    I was 11 years old when my father disappeared.         Since

         5     then, my family and I have longed for closure in this matter.

         6     We have struggled privately but always holding out hope that

         7     our father, husband, brother, uncle, and grandfather, Paulie,

         8     would return, until the year 2001, when my worst fears were

         9     realized, finding my father's remains on Tenean Beach in

10:27   10     Dorchester.    Today I hope we find some semblance of peace and

        11     closure.

        12                Bulger, you boast that you are a reader of history.            I

        13     would like to recount for you how you affected the McGonagle

        14     family history.

        15                In 1969 you allegedly killed my uncle, Donald

        16     McGonagle, for no apparent reason except, perhaps, your fear of

        17     my father who overwhelmed your abilities to fight with your

        18     fists like a real man; you chose guns and knives.

        19                In '74 you killed my father, Paulie McGonagle.

10:28   20                In '75 you stooped to an all-time low when you called

        21     my house, I answered, you told me, Your father's not coming

        22     home for Christmas.      When I asked, Who this is, you stated,

        23     Santa Claus.

        24                '75 was also the same year you rolled up on my

        25     brother, Paul, 15, and told him, We got the guys that hurt your
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         1     dad, when all along it was you.

         2                In '81, as we walked the same streets of South Boston,

         3     you told me you would use me as target practice.

         4                In 2001, the year my father's remains were recovered,

         5     you hid in a rent-controlled apartment in California with your

         6     moll.

         7                Then, finally, on August 12, 2013, the day of the

         8     guilty verdict, as I left the courthouse, I had thoughts of you

         9     being marched to the electric chair and I thought, No, that

10:29   10     would be the easy way out for you.        As I continued out of the

        11     courthouse, one of the other victims' family's members said,

        12     Wow, it's finally over, I feel like we came from a funeral, to

        13     which I responded, Yes, "Whitey" Bulger's funeral.

        14                The solace I take comfort in is that every day you

        15     live in that six-by-nine cell you call home, you die another

        16     day.

        17                Over a lifetime you have managed to irreparably scar

        18     not only the victims here today, but also generations of South

        19     Boston men and women, including your own family.          You have

10:29   20     extorted, intimidated, murdered, poisoned many, including

        21     Teresa Stanley's son, Billy, my best friend.

        22                Bulger, you thought you carried yourself as an Irish

        23     icon, but nothing could be further from the truth.           You're a

        24     domestic terrorist, fueled by greed and a sickening ego.             You

        25     thought you could play both sides against the middle forever.
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         1     Perhaps you should have learned more while reading your history

         2     books; at some point a side must be chosen.          But when you had

         3     to choose a side, you did what most cowards do, you ran.

         4                So, at the end of the day, no one cares what legacy

         5     you leave or what troll you live by, because in the end, you're

         6     really just an intellectually, physically, mentally deficient,

         7     sad, lonely, and irrelevant old man.

         8                In closing, I also want to thank the people who

         9     brought James Bulger to justice, people like Dan Doherty of the

10:30   10     DEA; Trooper Johnson; Captain Foley of the Mass. State Police;

        11     Mr. Wyshak, Mr. Kelly, Mr. Hafer, his staff at the U.S.

        12     Attorney's Office.      They are the people who worked hard to

        13     restore integrity and justice to the Commonwealth of

        14     Massachusetts and the United States.

        15                As for you, Bulger, the fact remains, my father was no

        16     Boy Scout, but he was a better man than you could ever be.         My

        17     strongest desire is that you are punished to the fullest extent

        18     of the law and you become what you read, history, ancient

        19     history.

10:31   20                Thank you, your Honor.

        21                THE COURT:    Thank you, sir.

        22                Mr. Kelly.

        23                MR. KELLY:    The United States would call Tom Angeli,

        24     son of Al Notarangeli.

        25                MR. ANGELI:    Thank you, Judge Casper.      Good morning.
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         1                I want to thank the Court for the opportunity to

         2     address this session and this man.

         3                My name's Tom Angeli, my father was Alfred Angeli.           My

         4     uncle was Joseph Notarangeli.       I have five siblings, three

         5     sisters and two brothers.       At the time of our father's death,

         6     we ranged from two years old to 17.        My uncle had four

         7     children, and they were roughly the same age range as us.

         8                Like most children, I didn't really pay attention to

         9     what my parents did for a living.        I knew my father as a family

10:32   10     man.   He took us on many, many trips, taught us how to ski,

        11     taught me how to fish, how to appreciate the outdoors.            He was

        12     extremely avid in all sports himself.         He taught us how to be

        13     compassionate, love our family, our grandparents, our aunts and

        14     our uncles.    But most of all, he taught us about education and

        15     how important that was.      That meant so much to him.       He was

        16     extremely well-read himself, well-spoken, and even took college

        17     courses.

        18                How's school? he would ask.      It would be the first

        19     thing he would say to me when we spoke.         Even when all this

10:33   20     turmoil was going on in the early '70s, that would be the first

        21     thing that my father would ask me when we spoke, How's school?

        22     That all ended with his death.

        23                It's been almost 40 years since my father was

        24     murdered, and I can't count on one hand, and I mean this, not

        25     on one hand anything that I've ever heard anybody say regretful
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         1     about this man.

         2                 Soon after our uncle's death in 1973 at the Pewter Pot

         3     Restaurant in Medford Square, our father left the area.             He was

         4     worried for our safety and the safety of his family.              We were

         5     unable to attend my uncle's funeral.        That's how afraid my

         6     father was for us and the danger that he felt we were in.

         7                 It was hard for all of us.     I can only imagine how it

         8     was for him because shortly after that he left this part of the

         9     country, left his home, left his family, but he didn't run away

10:34   10     for long.    A year later he came back to try and make things

        11     right.    And I saw him a few days before he died.        And I was so

        12     worried about him being here.       Maybe things would have

        13     unraveled if he stayed away.       I often thought about that.         You

        14     know, things were just so messed up back here.

        15                 Unlike him, you ran, and I find it hard to believe you

        16     ran without help.     We know you had a brother that was a

        17     lawmaker in our state.      We know you had FBI agents that

        18     protected you.     You had law enforcement that protected you.

        19                 I want the Court to know I'm not happy with all the

10:35   20     results of this trial, because I really think that the case was

        21     proven.    Maybe too much time passed.      You know, 40 years ago,

        22     not enough of credible witnesses, I don't know what it was, but

        23     I truly think that the prosecutors did a job proving this case.

        24     I truly believe it was proved.

        25                 And I want you to know, and I want the Court to know
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         1     that I don't want to be an angry person, but I am so

         2     disappointed because it was such a violation of my father's

         3     life because you lured him in and then you executed him.           On

         4     top of everything, you robbed him of his personal belongings.

         5     You know, I know it sounds -- may sound menial to you, but he

         6     had this honking diamond ring on his finger that was my

         7     uncle's, and he didn't like that kind of stuff, but he wore it

         8     because it was his ring, and you took it off his body.            It's

         9     like, to this day, I can't believe that you did that.

10:36   10                Our family has been robbed for so much.        Our

        11     grandmother buried both her sons.        My aunt, our father, and my

        12     uncle's sister never got over their deaths, and I know that her

        13     passing was a direct result -- she was so emotional, and she

        14     died untimely.

        15                My grandmother ended up living in a trailer, and I'm

        16     telling you right now, had my father or my uncle lived, that

        17     surely would not have been the case.

        18                I have younger siblings that have struggled to this

        19     day, such a hard time trying to find themselves, and I'm

10:37   20     telling you right now, it's a direct result of what happened to

        21     our family.

        22                Our father has missed so much.       We all feel robbed

        23     every day, robbed of seeing his children marry, his

        24     grandchildren born and raised.

        25                As I said, our father didn't run.       He came back.     He
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         1     was an extremely honorable person.

         2                 And from what I hear in this court, he paid $50,000

         3     restitution, maybe more.      Whatever was wrong, he came back to

         4     make it right.     He didn't hide for 16 years, aided and abetted.

         5     He told me himself that everything was going to be all right

         6     now, even though he'd never get over what happened to the

         7     people that he loved so much.

         8                 I've been bothered by the deaths of our father and

         9     uncle for so many years.      When I drive by the Pewter Pot

10:38   10     Restaurant in Medford Square and then practically right next

        11     door, St. Mary's, where our father's funeral was held, it's a

        12     rush of emotion every time.

        13                 This is where I'm from.     This is where my whole family

        14     was from.    The deaths in my family are always going to be there

        15     because this is where I live.       These are the roads that I drive

        16     down.   There's never going to be any escaping the memories of

        17     what happened.

        18                 Our father's and uncle's death was truly the

        19     dismantling of our family core, and we -- I truly want you to

10:39   20     hear this -- we shouldn't have to live with such tragic

        21     memories because of a group of people that were opportunists,

        22     psychopathic, and had absolutely no regard for life.

        23                 In a sense, I'd love to see you get the death penalty,

        24     I've thought about it plenty, but at this stage in your life,

        25     to have been afforded so many freedoms for so many years, and
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         1     to end up in a cell without the basic freedoms that we all

         2     enjoy, I really think that that's probably more fitting for

         3     you.

         4                And I truly hope that there are no more further

         5     considerations given to you.       And I'll be glad when I don't see

         6     your face in the newspaper or hear about you on the news.

         7                What happened to my father and our uncle will diminish

         8     as generations pass on.      I think that in time they'll just be

         9     ancestors that died a tragic death, maybe they won't be

10:40   10     remembered by my family that much.        But what happened in the

        11     '70s and '80s, what happened in this court is never going to go

        12     away.   This is always going to be a mark on history in this

        13     area.   It's never, ever going to be forgotten.         It's going to

        14     be one of those things that, you know, this is what happened

        15     back in Boston.

        16                When history writes about this, I think that it should

        17     be written that you had a brother that was a lawmaker that

        18     ended up, by all accounts, lacking integrity and honesty.           He

        19     mentored an FBI agent that became corrupt, and protected a

10:41   20     brother that had been given so many considerations and built a

        21     criminal enterprise at the cost of so many lives.           That's how I

        22     want history to remember this case.        And it's like, you know

        23     what, some day I hope that that is the way it's remembered.

        24                I want to thank you so much for allowing me do that.

        25                Thank you.
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         1                THE COURT:    Thank you, sir.

         2                Mr. Kelly.

         3                MR. KELLY:    United States would call Marie Mahoney,

         4     daughter of William O'Brien.

         5                THE COURT:    Good morning.

         6                MS. MAHONEY:    Good morning.

         7                First of all, I also would like to thank you, your

         8     Honor, for giving me the chance to speak today.          I waited 40

         9     years to see the man that murdered my father back on March 23,

10:42   10     1973.

        11                My name is Marie O'Brien Mahoney, the only child of

        12     William O'Brien who was murdered and taken away from me on

        13     March 23, 1973 when I was three months shy of turning 12.         I

        14     will never forget that Friday, because my father, who was known

        15     as "Obie," always picked me up on Friday for the weekends.         You

        16     see, my mother and my father were divorced, but they still had

        17     a good relationship when it came to me, and I always had the

        18     secret wish that they would get back together.

        19                The night he was murdered, he called my mother and

10:43   20     told me he'd be a little late, but I could tell by the

        21     conversation that my father and my mother were having that my

        22     weekend wasn't going to go as planned.

        23                The weekends with us would consist of Friday nights

        24     watching TV, me telling him how school was, he telling me what

        25     he had been up to.      Saturdays we'd head to Broadway for
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         1     breakfast.    Sometimes we'd go bowling.       He'd take me to Castle

         2     Island, go to Sullivan's for a hot dog.         That was just me

         3     hanging with my father, spending times on the weekend.            But

         4     that night, while I was waiting for him, he called and he said

         5     he was going to be a little late.        And I said, Oh.     I was

         6     really disappointed, and I said, Can I go with you?           He said, I

         7     have a few things I have to do, I have a few errands I have to

         8     run.    I begged him to let me go with him.       He said, No, he

         9     said, If you wait, just be patient and wait, I'll pick you up

10:44   10     later, I'll pick you up a cake from one of your favorite

        11     places, Linda Mae's.      And I relented, I said, Okay, that sounds

        12     good.   And I waited, and I waited, and I waited, and he never

        13     came.

        14                My mother got a phone call and the police came to the

        15     door and told her what happened, and I cried for days, I cried

        16     for weeks, I cried for months.       How does a 12-year-old come to

        17     grips with a parent never coming back?         My secret wish of my

        18     parents getting together never happening?

        19                I could have been with him in that car that night.            I

10:44   20     think of that all the time.       I would also panic whenever a

        21     loved one came home late, because he never came home, and I

        22     just always have that fear.       You never get over losing someone,

        23     especially when it's that sudden.        You learn to cope with your

        24     fear, but you never get over it.

        25                My mom did the very best she could as a single mom,
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         1     working several jobs and trying to be a mother and a father to

         2     me.   If it weren't for aunts and uncles taking care of me and

         3     my grandmother, she wouldn't have been able do it on her own.

         4                So here I am, 40 years later, trying to put into words

         5     how this horrific night has impacted and molded my life.             I

         6     miss my father all the time, and I always wonder what would

         7     have been.

         8                The only solace I have today is knowing that this man

         9     responsible for murdering my father will never walk the streets

10:45   10     again.

        11                Rest in peace, "Obie."

        12                We got you, you rat.

        13                THE COURT:    Thank you.

        14                Mr. Kelly.

        15                MR. KELLY:    The United States would call Bill O'Brien,

        16     son of William O'Brien.

        17                MR. O'BRIEN:    Good morning, your Honor.

        18                THE COURT:    Good morning.

        19                MR. O'BRIEN:    I didn't come here to sling mud today,

10:46   20     but since Marie has fired the warning shot, I am the son of

        21     William O'Brien.     I am the man who's been in this courtroom

        22     this whole summer.      Where has she been?     Nowhere.

        23                THE COURT:    Sir --

        24                MR. O'BRIEN:    They got DNA from you and me.          You don't

        25     got DNA from my father, so you recognize that.          They compared
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         1     our DNA.    Yours versus mine.     We don't have the same mother,

         2     and we certainly don't have the same father.

         3                THE COURT:    Mr. O'Brien, Mr. O'Brien, okay.

         4                MR. O'BRIEN:    I'm sorry.

         5                THE COURT:    I want to hear you.     Okay?   We're not

         6     going to address anyone else, just address me.

         7                MR. O'BRIEN:    I'm sorry.

         8                THE COURT:    Take a deep breath.

         9                MR. O'BRIEN:    My name is William O'Brien, Jr.

10:47   10                THE COURT:    I got that, sir.

        11                MR. O'BRIEN:    My father was ambushed out on Morrissey

        12     Boulevard, 1973, March 23rd.

        13                Subsequently, I was born four days later on March

        14     27th, never getting the opportunity to meet my father.

        15                My mother could not attend his funeral because she was

        16     in the hospital giving birth to me.        She never had a chance to

        17     say goodbye to him.      She called my father the love of her life,

        18     which I know to this day is true.        I walked around with a

        19     tremendous void and emptiness my entire life.

10:47   20                I've driven Morrissey Boulevard a thousand times, and

        21     every time I drive that boulevard I think of the horror that

        22     that man went through.      I think of the two cars that rolled up

        23     on him and stalked him.      And not anyone can tell me why my

        24     father was killed, but I am going to tell you this:           Ralph

        25     DeMasi was not the target that night.         "Red" O'Brien was the
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         1     target, and I have that in writing.

         2                I'm sorry I'm so emotional, your Honor, but that just

         3     threw me for a loop right there.

         4                THE COURT:    Continue, sir.

         5                MR. O'BRIEN:    Every time I passed the spot he was

         6     killed, I blessed myself twice, seal it with a kiss, and I look

         7     up to him, one for him, one for me.

         8                I think of the things he missed out on in my life: my

         9     first day of school, teaching me how to play catch, or maybe

10:48   10     buying me my first baseball glove.        I can remember playing

        11     Little League in Southie and looking in from second base and

        12     seeing all those other fathers with their sons, and me just

        13     standing there, wishing I had somebody cheering me on, wishing

        14     someone was adjusting my baseball cap.

        15                All of my Father's Days have been spent out at

        16     Mt. Hope Cemetery when they should have been spent with him.

        17                My biggest regret for my father is not being able to

        18     meet his granddaughter, Briel, my daughter.          He loved kids,

        19     from what I understand.      I know he would have been the best

10:49   20     grandfather.

        21                I have carried around these overwhelming feelings with

        22     grief and hurt for a long time.        It hasn't always been easy for

        23     me.   I never really got anything out of this trial.          I got more

        24     questions, no answers.

        25                When I walk out of here today or tomorrow, I want to
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         1     leave this all behind me for once.        I've tried a million times,

         2     it hasn't worked, but I'm prepared to emotionally let all this

         3     go today and tomorrow because I have to for myself.           I have to

         4     make peace with everything.

         5                I can't sit here and blame Jim Bulger for what's done.

         6     What's done is done.      I can't sit here and be mad at the

         7     government for not proving my father's murder, it's over, I get

         8     that.   And you know, I might have been a little hard on these

         9     guys, and Dan and Steve who have given me a lot, what they

10:50   10     could with the lack of information there, and I've been a

        11     little hard on Dan and Steve, and I want to apologize to them,

        12     because the stuff that is out there, and I know it's 40 years

        13     and I know there's a lack of information on my father and

        14     they've told me his murder has been one of the toughest ones to

        15     make sense out of, I do appreciate the work they've done for

        16     me.

        17                I just want to say for the seven families of the not

        18     proven, the Milanos, the Plummers, the Sousas, the O'Tooles,

        19     the Notarangelis, the Leonard family, and my dad, "Red"

10:51   20     O'Brien, just because it was not proven, doesn't mean you'll be

        21     forgotten.

        22                In closing, your Honor, I would just like to say that

        23     I think about my father every single day.         I will forever be

        24     his son, and he will forever be my father.

        25                I love you, "Red."
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         1                THE COURT:    Thank you, sir.

         2                Mr. Kelly.

         3                MR. KELLY:    Yes, your Honor.

         4                The United States would call Patricia Donahue, wife of

         5     Michael Donahue.

         6                THE COURT:    Good morning.

         7                MS. DONAHUE:    Good morning, your Honor.

         8                "Whitey" Bulger murdered my husband, Michael Donahue,

         9     while a corrupt FBI agent stood by and watched.          Words cannot

10:52   10     describe the impact this had on my family.         Our hearts were

        11     torn wide open.     He was 32 years old when he was taken from us.

        12     I want him to be remembered for the wonderful man he was.

        13                Michael was born and raised in Boston.        He was a son

        14     of a World War II vet and a Boston police officer.           Michael had

        15     a proud -- he was a proud member of Teamster union Local 25.

        16     He was a middle child of two brothers, Thomas and Patrick, a

        17     beloved husband, and a devoted father of three boys, Michael,

        18     Sean, and Tommy.     He enjoyed fishing and playing pool.         He was

        19     very sociable and loved being surrounded by people.

10:53   20                When I reminisce with my friends, all we used to talk

        21     about was how he used to make us laugh all the time, he was

        22     such a funny man.     But he had a serious side, too.        On an

        23     average day in our household, Mike would sit with his children

        24     after dinner and help them with their homework.          Their

        25     education was very important to him.
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         1                Holidays were special in our house.        I felt I had four

         2     boys instead of three.      Mike would sit on the floor and play

         3     with the toys like they were his own.         He would stay up late on

         4     Christmas Eve and put together their bicycles.          The next

         5     morning the wheels and the handlebars were all on the wrong

         6     bikes.    He surely was not mechanically inclined.

         7                And there were things about Michael that drove me

         8     crazy.    If you can believe this:      He was always happy.       He even

         9     woke up happy.     Really, who does that?      He also thought he was

10:54   10     a great cook.     He would cook a prime rib so well done that you

        11     would have no idea what you were eating.

        12                He was a good provider.      He was a hard worker.       After

        13     a full day of work he would be looking for a side job.             If we

        14     had a snowstorm, he would be ready to plow, day or night, it

        15     didn't matter.

        16                Mike was a kind and thoughtful person.        He would send

        17     me long-stemmed roses on birthdays and anniversaries.             He would

        18     also send them when he was in the doghouse.

        19                Michael, Jr. was 13, Sean was 11, Tommy was eight, the

10:54   20     ages when a boy most needs his dad.        We were a happy, loving,

        21     young family with hopes and dreams, and he was the soul of our

        22     family.    He cherished being a husband, father, son, and a

        23     brother.    They were the things that meant the world to him.

        24                But then on May 11, 1982, a complete stranger named

        25     "Whitey" Bulger crossed our paths and everything we cherished
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         1     was gone in the blink of an eye.

         2                Through all the grief and shock I had to pick up the

         3     pieces as a single parent with no idea what was in store for

         4     me.   I also had to bring my heartbroken children back to

         5     reality.    That was the hardest task.

         6                As a family we have picked ourselves up and gotten on

         7     with our lives, but the pain and the tears will always be

         8     there.   Michael's memories will always be in our hearts, never

         9     to be forgotten.

10:55   10                Today my sons have children of their own, and I often

        11     think how sad it is that Michael never had a chance to be the

        12     wonderful grandfather I know he would have been, and that those

        13     children never had a chance to know him.         They would have loved

        14     him so much.    It's a terrible loss all around.

        15                Mr. Bulger and the deceitful Boston FBI made victims

        16     of my family for 31 years.       They are the reason I am here today

        17     reading this impact statement.        This is the pain and the

        18     injustice my family has endured, and the need for justice is

        19     finally to be served.

10:56   20                Thank you.

        21                THE COURT:    Thank you.

        22                Mr. Kelly.

        23                MR. KELLY:    The United States would call Meredith

        24     Rakes, the daughter of Stephen Rakes.

        25                MS. RAKES:    Good morning, your Honor.
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         1                 THE COURT:    Good morning.

         2                 MS. RAKES:    I'm here today on behalf of my father,

         3     Stephen Rakes, who looked forward to this day for over 30

         4     years, during which time the pain, misery, and torment caused

         5     by this man, James Bulger, on my family was almost unbearable.

         6                 Under threats of violence and murder to my father and

         7     my siblings, he was forced to give up his dream of having a

         8     successful business and dreams of passing it on to his

         9     children.    He was harassed and reminded to always keep his

10:56   10     mouth shut or else.      Not knowing when or where James Bulger and

        11     associates would pop up, knowing the brutality he is capable of

        12     was persistent, unyielding, unpredictable horror in itself, not

        13     so much for my father but for his children who are his main

        14     concern throughout his life.       Lesser of a man would have given

        15     up, but my father stayed strong through this whole ordeal.

        16                 Today I am leaving this ordeal in this courtroom.           It

        17     no longer will be a roadblock in my family's life.           My family

        18     will no longer be afraid or worried or be haunted by this awful

        19     situation.    It no longer has to be a thought in my family's

10:57   20     mind or worry in their hearts or pain in their eyes.              The

        21     healing can begin.       This will no longer be my family's legacy.

        22                 My hope for the victims and the victims' families is

        23     to find peace in their hearts to forgive and to start to heal.

        24     The nightmare is over, the pain stops here.          The evil he did

        25     cannot be undone, but this story that has gone on for far too
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         1     long will be one of strength and hope because the nightmare

         2     victimization is all over.       The Rakes' legacy will now be one

         3     of peace, serenity, and freedom to finally know this brings

         4     closure to me and my siblings and to know my father is at

         5     peace.

         6                Thanks.

         7                THE COURT:    Thank you.

         8                Mr. Kelly.

         9                MR. KELLY:    United States would call Timothy Connors,

10:58   10     son of Edward Connors.

        11                MR. CONNORS:    Good morning.

        12                THE COURT:    Good morning.

        13                MR. CONNORS:    I would just like to start off to thank

        14     a few people.

        15                I want to thank the U.S. Attorney's Office, I think

        16     they did a wonderful job with the trial.         They always kept us

        17     updated and were always there whenever we needed them.            Thank

        18     you.

        19                I'd like to thank you, Judge Casper, for overseeing

10:59   20     this trial with professionalism and lots of consideration for

        21     both sides.

        22                And I just need to give a very special thanks to Steve

        23     Johnson and Dan Doherty.      I would never have made it through

        24     the past years and court proceedings without them.

        25                "Whitey," no words could ever describe how I feel
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         1     about you.    You have taken so much from so many people, all for

         2     your personal gains and selfishness.        For me personally, you

         3     took my father.     Maybe you don't understand how important it is

         4     for a little boy to have his father.        Not all fathers are evil,

         5     one-armed men that beat their kids.        Maybe he knew what you

         6     were about to become.

         7                 You claim that you didn't get a fair trial and it was

         8     a sham.    Is that because the true "Whitey" was exposed and not

         9     that of a legend you think you are?        Your legacy is already

11:00   10     cemented as that of a rat and a skinner, which you are.

        11                 Before I finish, I want to let you know you serve less

        12     of a purpose on this earth than Reye's syndrome.

        13                 And, Judge, I have faith you'll do the right thing

        14     when it comes to sentencing.

        15                 Thank you.

        16                 THE COURT:   Thank you, sir.

        17                 Mr. Kelly.

        18                 MR. KELLY:   The United States would call Patrick

        19     Callahan, son of John Callahan.

11:00   20                 MR. CALLAHAN:   Good morning, your Honor.       Good morning

        21     everyone.

        22                 I was 14 years old when my sister and I were told by

        23     our mother that our father, John Callahan, had been murdered.

        24     Not that he died, not that he had been killed in an accident,

        25     but murdered.     This was an unimaginably devastating blow that
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         1     would forever change me and my family.         We were all in a state

         2     of shock and arguably have lingered in one for 30-plus years.

         3     My schoolwork suffered, as did my relationships with my friends

         4     and peers.    My outlook on the world had changed.        Without my

         5     father's inspiration, guidance, discipline, and support, life

         6     as I knew it had forever changed.        I was still a teenage boy

         7     and very much needed his advice, wisdom, and, perhaps most

         8     importantly, his love.

         9                For three decades now my mother, sister, and I have

11:01   10     tried to get by.     My mother lost the love of her life.         Despite

        11     chronic illness and constant financial challenges, she goes on,

        12     but a single day doesn't pass when she doesn't mourn the loss

        13     of my father or think about her life in the context of what

        14     might have been.

        15                We three are a small family with not much of an

        16     extended family who we might have been able to rely on to help

        17     out.   After my father's murder, my family was pretty much on

        18     its own to not only deal with our loss but to begin to sort out

        19     how to move on with our lives.       Needless to say, it was a

11:02   20     brutal time both mentally and emotionally.

        21                I love my father, and I still miss him.        He was a

        22     great dad.

        23                His loss is amplified with each of life's milestones,

        24     big or small.     My dad never saw his children graduate from high

        25     school.    He never saw my sister graduate from college.          He
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         1     never met the wonderful man my sister chose to marry.             He never

         2     got to know his three beautiful grandchildren, let alone all of

         3     the small moments of laughter and joy that might have

         4     punctuated the last 30 years.       That was all taken away.

         5     Beginning in 1982, Thanksgiving and Christmas were never the

         6     same.   The commercials for Father's Day cards still get to me.

         7                Not a day passes that I don't wonder what our lives

         8     would have been like if he hadn't been taken from us so

         9     prematurely.    There's no doubt that they would have been much

11:02   10     different because he would have been in them.          He was in his

        11     40s.    Indeed, we would likely today still be a family of four

        12     rather than three.

        13                In 1982 the three of us lost an amazingly wonderful

        14     and irreplaceable person.       After 30 years we also realize that

        15     our loss will never be completely healed.

        16                Thank you.

        17                You won't even turn around and look at us?

        18                Coward.

        19                THE COURT:    Mr. Kelly.

11:03   20                MR. KELLY:    United States would call Theresa Bond,

        21     daughter of Arthur Barrett.

        22                (Discussion off the record.)

        23                MR. KELLY:    Go to the next one?

        24                THE COURT:    Mr. Kelly, do you want to go to someone

        25     else and then we'll come back to Ms. Bond?
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         1                 MR. KELLY:   Sure.

         2                 We'll go to Patricia Macarelli, wife of Brian

         3     Halloran.

         4                 (Discussion off the record.)

         5                 MR. KELLY:   May I have a moment, your Honor?

         6                 (Discussion off the record.)

         7                 MR. KELLY:   Your Honor, the United States would call

         8     Kathleen Nichols, daughter of Edward Connors.

         9                 MS. CONNORS NICHOLS:    Good morning.     How are you?

11:04   10                 Thank you for the opportunity to address this Court.

        11                 My name is Kathleen Connors Nichols.       I'm the eldest

        12     of the seven children of slain victim Edward George Connors and

        13     his only wife, Charlotte Hunt.       I've been elected to give the

        14     statement on behalf of my six siblings, my brother Eddie, who

        15     is in the back in the wheelchair, who has not been to court

        16     before; my sister Cheryl; and this entire front row are my

        17     siblings, Ellen, Chris, Kevin, and Sean Connors.

        18                 I'm aware of the time allocations given, your Honor,

        19     and I'll attempt to be brief in my statements.

11:05   20                 On June 12, 1975 we learned of our father's murder via

        21     the front page of the Boston Globe.        It showed the horrific

        22     image of our father's slain, bullet-ridden and mutilated body

        23     slumped over in the corner of the phone booth, of that now

        24     infamous Morrissey Boulevard phone booth.         You've all seen the

        25     images here in the courtroom; we've seen them several times.
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         1                Can you imagine learning of your father's death in

         2     this manner?    At the time of his murder we ranged in age from

         3     eight to 18 years old.      I actually called the Globe that day

         4     and asked how they could be so insensitive to print such a

         5     graphic picture knowing he had to have children.          And the Globe

         6     reporter callously said to me, Sorry, baby, this is news, and

         7     he hung up the phone.

         8                The breadth of the emotional and psychological impact

         9     of our father's death is felt even to this day.          Knowing the

11:06   10     traumatic, emotional, and psychological consequences this would

        11     bring upon the youngest in our family, my mother and stepfather

        12     elected to mask the truth of our father's murder by sharing

        13     that he was killed in an automobile accident.

        14                Emotionally, like all victims, we were distraught and

        15     fearful.

        16                Psychologically, we have all sought counseling and

        17     have suffered through the private hospitalization of one of my

        18     siblings after two suicide attempts.

        19                The financial burden was difficult simply because

11:07   20     there were seven of us, and add the ongoing medical expenses of

        21     a handicapped child, and it seemed almost insurmountable.          We

        22     have addressed these financial hardships in our written

        23     statement.

        24                We are not ignorant to the fact of our father's life

        25     choices.    He was flawed.    However, murder robbed him of the
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         1     opportunity for change and betterment in his lifetime and

         2     denied him the privilege of being father to his children and

         3     grandfather to our children.       We will never know what he looked

         4     like in his old age, and he will never have the opportunity to

         5     say, I'm sorry, and that impact is far-reaching and has

         6     systemic consequences.

         7                There is a stigma attached to murder that only the

         8     victims' families know, and it is mentally exhausting.

         9     Seemingly simple questions become a mental battle with yourself

11:08   10     on, How do I answer this?       How did your father die?      Do you

        11     tell them the shocking truth, that he was practically cut in

        12     half from the overkill of ammo fired into his body?           Or do you

        13     give them the PG version that will stop any subsequent

        14     questions?

        15                Have you ever been denied playtime with the neighbor's

        16     children because their parents discovered who your father was

        17     and were afraid of any repercussions resulting from his death?

        18     We have.    How about the shame associated with gangland slaying,

        19     which was all over the news and all the newspapers?

11:08   20                My siblings and I are eternally grateful that our

        21     mother and stepfather had the wisdom and foresight to take us

        22     out of the limelight and out of harm's way and hid us where

        23     we've kept our past quiet and to ourselves.          We were ignorant

        24     for many years as to who murdered our father, as we were far

        25     removed.
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         1                Imagine our surprise and dismay to find out that the

         2     so-called good guys were also the bad guys.          Quite possibly our

         3     father could be alive today if it weren't for the corrupt

         4     proclivities of federal, state, and Boston city law enforcement

         5     seated at that time who were working in conjunction with these

         6     criminals.

         7                Were it not for strangers misrepresenting our family,

         8     we would not have come forward, burdening ourselves to relive

         9     all this pain.     We didn't have a clue that we could have a

11:09   10     voice in any of the previous trials concerning our father's

        11     murder, as we have never been contacted by any legal faction,

        12     none of the trials, not even this one.         My sister sent at least

        13     eight queries to Ms. Ortiz, only to have them go unanswered,

        14     shuffled around, completely ignored, or given misinformation.

        15     We've attempted to have inaccuracies that were hurtful to our

        16     family corrected, to no avail.       Truth is apparently optional

        17     and fact checking is a thing of the past.         To some this may

        18     seem trivial, but it is extremely insensitive to our family.

        19     How sad the only respect and acknowledgement we received was

11:10   20     from the defendant's lawyers, Mr. Carney and Mr. Brennan.

        21                In conclusion, I have little to say about Mr. Bulger

        22     that hasn't already been stated.        I believe he is evil, I

        23     believe he has left many lives in ruin, and most likely

        24     murdered many more than disclosed in this trial.          I believe

        25     this Court will dole out his due punishment to the full extent
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         1     of the law; I trust that.       Unfortunately, he is an old man who

         2     will die in prison, and then he will face his inescapable

         3     eternal judgment, of this I am sure.

         4                Thank you.

         5                THE COURT:    Thank you.

         6                Mr. Kelly.

         7                MR. KELLY:    Yes, your Honor.     The United States would

         8     now call Theresa Bond, daughter of Arthur Barrett.

         9                MS. BOND:    Mr. Bulger, could you please look at me?

11:11   10                I just want you to know that I don't hate you.          I

        11     don't have that authority.       That would be judging you.       I do

        12     hate the choices that you've made, along with your associates,

        13     but more so, I hate the choices that our government has made to

        14     allow you to rule the streets and perform such horrific acts of

        15     evil.

        16                I not only lost my father, who was our family's rock,

        17     I lost two of my brothers to suicide and my mother to Mercer,

        18     because she was in the hospital so much for her depression.

        19                I would ask you, Mr. Bulger, to look at my father as

11:12   20     an example hours before he was murdered and ponder what he was

        21     doing.    He was praying, and from what I've understood, he was

        22     praying and he had his wallet open to a picture of a little

        23     girl.    That was me.    You will be summonsed to the highest

        24     judge, and it won't be the law books that will be open, it will

        25     be the book of life.      Do you want God to look at you, or do you
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         1     want him to see Jesus standing in front of you?

         2                A lethal injection would be too easy of a punishment

         3     for what you've done.      Prison, you won't be there long enough

         4     to suffer for the heinous crimes that you've committed.           But

         5     hell must be too much for any soul to bear for Jesus Christ to

         6     come and take our place so that no man needs to go there.            Even

         7     if they deserve it, they're spared it.

         8                I would ask you, Mr. Bulger, do you have remorse for

         9     taking my father's life?        I think you do.   I forgive you.

11:13   10                Thank you.

        11                THE COURT:    Thank you.

        12                Mr. Kelly.

        13                MR. KELLY:    Yes.    We'd ask whether Patricia Macarelli

        14     is here today?

        15                It appears she is not, your Honor.        So we would call

        16     Steven Davis, brother of Debra Davis.

        17                THE COURT:    Good morning, sir.

        18                MR. DAVIS:    Good morning, your Honor.      How are you?

        19                Prosecutors Kelly, Wyshak, how are you?        Brennan,

11:14   20     Carney.

        21                I just want -- the writing is a little hard to --

        22     because I turned a statement in and I never got it back, so my

        23     wife just helped me with this.

        24                You know, I'd like to thank the Court, the U.S.

        25     Attorneys, the law enforcement, Dan Doherty, Steve Johnson, and
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         1     Tom Foley for bringing us here today for the justice we've been

         2     seeking for 32 years.      It's been a long 32 years of anguish,

         3     fear, disappointment.      I have fought hard for justice for my

         4     sister Debbie.

         5                Through --

         6                (Pause.)

         7                THE COURT:    Take your time.

         8                MR. DAVIS:    It's not so much this.       This man's built

         9     up so much hate in my heart that I'd like to strangle him

11:15   10     myself.    And I -- I'm sitting here with the anger that this son

        11     of a bitch should look every one of his victims in the eyes

        12     over here while we speak to you, the same way I did when you

        13     called on me, you piece of shit.        Look at me.

        14                THE COURT:    Mr. Davis.

        15                MR. DAVIS:    Through the years my family has lost a

        16     mother, father, four siblings.        We lived in fear of "Whitey"

        17     Bulger and Steve Flemmi.      My sister Debbie was a long-time

        18     girlfriend of "Whitey's" right-hand man, Stephen Flemmi.

        19                After a long, painful trial we were robbed of justice

11:16   20     with a no-finding verdict.       Her body was laid in a triangle,

        21     death in the Neponset River.

        22                My sister Debbie and I were close growing up, only a

        23     year apart.    We both escaped, escaped a hell we lived and

        24     created by my father.      My sister followed someone -- she found

        25     someone to take care -- to take the place of a father who never
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         1     showed us love, and showered her with gifts.          She was a

         2     beautiful young woman who I was told a threat -- that was told

         3     a threat that had to be dealt with -- had to be dealt with.

         4     She did not deserve to die this way.        She harmed nobody.

         5                 I hope "Whitey" dies the same way my sister did,

         6     gasping for breath as he takes his last breath.          His widespread

         7     wrath of murder, extortion is finally over.          My family thanks

         8     all involved for that.      I only wish my mother were here to

         9     share in this day.

11:18   10                 Thank you, your Honor, and everybody involved, and I'm

        11     sorry for this.

        12                 THE COURT:   Thank you, Mr. Davis.

        13                 MR. DAVIS:   Thank you.

        14                 THE COURT:   Mr. Kelly.

        15                 MR. KELLY:   The United States would call David

        16     Wheeler, son of Roger Wheeler.

        17                 THE COURT:   Good morning, sir.

        18                 MR. WHEELER:   Good morning.

        19                 Your Honor, my name is David Wheeler.       I am the son of

11:19   20     Patricia Wheeler and the late Roger M. Wheeler of Tulsa,

        21     Oklahoma.

        22                 Here is my father.    (Showing picture.)

        23                 My mother, I'm pleased to say, is still alive.        My

        24     father, Roger Wheeler, is long dead.        He was murdered in cold

        25     blood sitting in his automobile after a round of golf more than
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         1     a thousand miles from this courtroom.         He was 54 years old.    He

         2     was murdered on the order of this man, James Bulger.

         3                My sister, Pamela Norberg Wheeler, appeared in this

         4     court last summer to give testimony on behalf of the

         5     prosecution.    My brothers, Roger, Jr. and Larry, and I survive

         6     another brother, Mark.      My wife, Laurie, is in the next

         7     courtroom over.     I cannot say -- I cannot begin to say how much

         8     I owe her for her love and her support through this.

         9                Our son, Steven, is also here with his wife, Meg, and

11:20   10     his cousin, Roger, Jr.'s son, Clark.

        11                Unable to join us today is Michael Huff, recently

        12     retired Tulsa Police homicide detective.         Mike was the first

        13     detective to arrive at Tulsa Southern Hills Country Club on

        14     Wednesday afternoon back in May of 1981.         Mike's dogged

        15     determination to find the truth over the years has earned him

        16     my everlasting thanks and respect.        What Mike saw there in the

        17     parking lot next to the swimming pool was unimaginable,

        18     horrifying to everybody but this man.         This man wanted my

        19     father dead.

11:21   20                What has been uncovered in the years since about the

        21     utterly corrupt, insular world that was the Boston office of

        22     the Federal Bureau of Investigation is, if possible, even more

        23     horrifying, more grotesque, particularly to those of us, such

        24     as my family and I, who once trusted federal law enforcement.

        25                My father joined the Navy during World War II and
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         1     later met my mother, then a nurse student from Kansas, at an

         2     ROTC tea dance.     The jukebox had broken down and my mother

         3     asked him to fix it.      A year later, they were married.

         4                After the war, my father found work in the Venezuelan

         5     oil fields where he learned that pipelines can be kept free

         6     from rust and leaks by attaching an anode of magnesium metal to

         7     them.   The magnesium anode rusts instead of the pipe.            My dad

         8     came back to America and started a business melting down

         9     magnesium scrap leftovers from the war to make magnesium anodes

11:22   10     for oil pipelines.

        11                My father wasn't much for watching television.            The

        12     time spent with us kids was mainly reserved for out-of-doors,

        13     hiking, water-skiing, fishing, and working together outside.

        14     One day we even caught the same fish on separate hooks.

        15                One time Dad's magnesium plant caught fire.            I was

        16     eight years old.     I went with him as he went to save his

        17     business, our livelihood.       The firemen had just arrived and

        18     were unravelling their hoses.       Dad reminded the chief that

        19     spraying water on a magnesium fire is just like throwing

11:22   20     gasoline on a paper fire; it's the last thing you want to do.

        21     I watched from across the street as Dad and some of his workers

        22     raced through the gates into the plant.         I watched as Dad came

        23     up on two firemen preparing to start spraying a big hose on the

        24     fire.   They refused to listen to Dad's loud, urgent warnings,

        25     so he stole their fire hose.
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         1                 That was my dad.    He was my hero.    He had unlimited

         2     energy, and with some luck and lots of determination he became

         3     an extraordinarily successful businessman.

         4                 My father's fatal mistake proved to be his faith in

         5     the FBI.    He invested millions to buy World Jai Alai, a

         6     fast-moving indoor sport imported from the Basque region of

         7     Spain.   Like horse racing, it featured wagering.         He purchased

         8     World Jai Alai because he thought it was a growing sport and a

         9     smart investment, but mostly because a team of retired FBI

11:23   10     agents, led by former Agent H. Paul Rico, assured him that they

        11     would protect his business and keep it clean.

        12                 I was working at World Jai Alai in Florida at the time

        13     of my dad's murder.      I was beginning to learn firsthand that

        14     the business was anything but clean.        On the frantic flight

        15     home to Tulsa that terrible day, I concluded that Rico had to

        16     be involved in the killing.       But with my strong belief in

        17     American justice, I was confident that we would quickly catch

        18     Rico and his criminal associates.        Sadly, my faith in the

        19     American government was misplaced.        Even today's proceedings do

11:24   20     not mark the end of my odyssey.

        21                 Thirty-two years have passed since John Martorano, the

        22     hitman for FBI informants, one of them sitting right here, came

        23     up to my father seated in his car and without a word shot him

        24     between the eyes.     This man then shot and killed Brian

        25     Halloran.    Martorano, again at the direction of this man, then
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         1     shot John Callahan, the former president of World Jai Alai, all

         2     to silence them from telling about my father's murder.

         3                How many others were involved in these and other FBI

         4     informant murders?     Who else at the Bureau knew about these

         5     secret relationships with their -- with these vicious criminals

         6     but turned away, said nothing as others were murdered?            Did any

         7     supervisors or other agents care to ask any questions or

         8     connect the few, simple dots between these murders and their

         9     own informants?     How could the FBI pretend to investigate

11:25   10     itself, give itself a clean bill of health, and then just a

        11     year later bring criminal charges against John Connolly,

        12     "Whitey" Bulger, and Steve Flemmi?        Where was the Justice

        13     Department in all of this?       Was there no oversight at all?

        14                My family and the families of many other victims of

        15     this man were victimized also by the FBI and in at least three

        16     ways:

        17                In our case, the first was, of course, my father's

        18     cold-blooded murder.

        19                The second was when the FBI repeatedly abused its

11:26   20     unchecked powers over the decades that followed.          It did this

        21     by routinely denying the existence of any special relationship

        22     with this man or his partner, Mr. Flemmi.         And by routinely

        23     lying to the public, to family survivors and other law

        24     enforcement officers, such as Detective Huff, all to conceal

        25     its own gross institutional misconduct.         It used its powers to
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         1     plant, destroy, and withhold evidence.         It stood by watching,

         2     did nothing as three men were murdered to keep my father's

         3     murder from being solved.

         4                The third time my family was victimized came at the

         5     hands of our own Department of Justice.         How misleading is

         6     that, Department of Justice?       This third came in the course of

         7     my family's federal legal case against the FBI for its role in

         8     my father's wrongful death.       When my family turned to the

         9     federal courts to compel formal answers to serious questions of

11:27   10     institutional corruption, the FBI, counselled by its lawyers

        11     from the Justice Department in Washington, D.C., not the

        12     prosecutors who tried the case before your Honor, did not and

        13     could not deny the facts.       Rather, the lawyers from Washington

        14     argued that we were at fault, that we were late in bringing any

        15     claims for the FBI role in my father's murder.          Our lives have

        16     been shattered, devastated, and we were to blame.

        17                The FBI and the Justice Department believed they could

        18     have it both ways.     They believed first that they could avoid

        19     any legal responsibility to my family by resorting to the

11:28   20     technical defense of statute of limitations; and second, that

        21     they could keep the public from learning its role in the murder

        22     of my father, the CEO of a computer company, and an American

        23     citizen.

        24                To claim the statute of limitations had expired,

        25     however, the FBI had to confess responsibility, that's the way
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         1     the statute of limitation defense operates.          If a party says it

         2     did nothing wrong, it stands to reason the limitations clock

         3     can't start ticking.      The government also believed that it

         4     could keep the public from learning about their admission of

         5     guilt or responsibility by burying it deep in some legal brief

         6     where only a judge would read it.

         7                As it turns out, the government was only half correct.

         8     For the first part, the FBI did win, it did avoid having to

         9     answer to my family and the American public in open court.           The

11:28   10     court did accept the government's claim that my family was at

        11     fault for moving too slow and dismissed our case.           So the FBI

        12     won the first round.      But they won't win the second.

        13                Everyone within the sound of my voice should

        14     understand this: that the FBI, entrusted with the greatest law

        15     enforcement powers and authority in this nation, is responsible

        16     for my father's murder.      They are as responsible for that

        17     murder as the defendant here sitting before you.          And that's

        18     not just my opinion, that's coming from the FBI itself.           Here's

        19     how the Justice Department confessed responsibility in a court

11:29   20     filing, and I quote, "The record establishes that by this date

        21     a reasonable person would have had sufficient facts to form a

        22     belief that the FBI bore some responsibility for both the death

        23     of Roger Wheeler and the subsequent cover-up."

        24                Sadly, until now, until this moment, almost nobody

        25     knew that the FBI had admitted responsibility for its role in
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         1     my father's murder and the agency-wide coverup that followed.

         2     This official acknowledgement of responsibility appears in no

         3     FBI or Justice Department press release or any government

         4     website.    No government official ever conveyed this to me or a

         5     member of my family in person or by letter, much less made

         6     apology for it.

         7                We've tried for years for an opportunity to uncover

         8     the facts, to establish this relationship, to call the

         9     government formally to answer, to account in a public forum.

11:30   10     It arrogantly refused.      It sought only to protect itself in the

        11     names and all-important careers of its agents and officials.

        12     Cowards.

        13                When the time came to stand up and answer for the many

        14     horrific crimes of its own making, including my father's

        15     murder, the FBI, through its lawyers and so-called Justice

        16     Department, didn't hesitate to hide behind this technical

        17     dodge.   It whispered its responsibility to a federal judge,

        18     only so it wouldn't have to answer to me, my family, and the

        19     American public.

11:31   20                Shame on you, Mr. Bulger.      For all your notoriety, you

        21     are a punk, and you don't even matter anymore.          You have turned

        22     from government-sponsored assassin into a bag of jailhouse rags

        23     waiting to be stored on cold steel.        Enjoy your retirement.

        24     Greater shame on all of those who helped you, whether FBI or

        25     private citizens, while you were on the run, those who tried to
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         1     protect you from seeing this day.        Greatest shame on all on the

         2     FBI and in particular those agents and officials who violated

         3     their sacred oaths, who defrauded the special trust of the

         4     American people.     My family and I have nothing but contempt for

         5     you.

         6                Thank you, your Honor.

         7                THE COURT:    Thank you, sir.

         8                Mr. Kelly?

         9                MR. KELLY:    Yes, your Honor.     I'd ask one more time if

11:32   10     Patricia Macarelli is here?

        11                (No response.)

        12                MR. KELLY:    And with that, your Honor, I don't think

        13     there are any other victims who wish to speak.

        14                THE COURT:    Thank you.

        15                Mr. Carney, as I do in every sentencing, this is the

        16     moment during the sentencing where I turn to the defendant and

        17     ask if he wishes to address the Court.         I will give him that

        18     opportunity.

        19                MR. CARNEY:    Thank you.

11:32   20                THE DEFENDANT:    No.

        21                THE COURT:    Counsel, as I suggested at the beginning

        22     of the proceedings today, my intention is to resume tomorrow to

        23     issue my reasons for the sentence and formally impose sentence.

        24                Anything else at this time?

        25                MR. CARNEY:    No, thank you, your Honor.
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 1                THE COURT:    Mr. Kelly.

 2                MR. KELLY:    No, your Honor.

 3                THE COURT:    We will stand in recess until tomorrow.

 4                THE CLERK:    All rise.

 5                (Court adjourned at 11:33 a.m.)

 6                             - - - - - - - - - - - -

 7                                  CERTIFICATION

 8                I certify that the foregoing is a correct transcript

 9     of the record of proceedings in the above-entitled matter to

10     the best of my skill and ability.

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14     /s/Debra M. Joyce                      November 13, 2013
       Debra M. Joyce, RMR, CRR               Date
15     Official Court Reporter

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